Case 7:18-cr-02049 Document1 Filed in TXSD on 12/06/18 Page 1 of 2

 
  
 

AO 91 (Rev. 11/11) Criminal Complaint

 

  

 

 

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UNITED STATES DISTRICT COURTE< a zoy
for the :
SOUTHERN DISTRICT OF TEXAS Chor ag Pa
United States of America ) venre
v. )
) Case No. M-t oD ~aY 99- M
Anthony Josh Boen (YOB: 1990) )
USC )
)
)
Defendant(s)
CRIMINAL COMPLAINT

I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

 

 

On or about the date(s) of 12/4/2018 in the county of Starr in the
SOUTHERN District of TEXAS , the defendant(s) violated:

Code Section Offense Description
21 USC 841 (a) (1) . Knowingly and intentionally possess with

intent to distribute approximately
103.999 kilograms of marijuana, a
schedule I controlled substance.

This criminal complaint is based on these facts:

See attachment 1.
(Continued on Attachment I)

Continued on the attached sheet.

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Complaindnt's signage
Ved /é, ly Luis O. Espinoza, DEA TFO

Printed name and title

 

 

Sworn to before me and signed in my presence.

Date: /2[G 19 | GCI
Judge's signature

City and state: McAllen, Texas J. Soatt wore Magistrate Judge

i / Printed name and title

 

 
Case 7:18-cr-02049 Document1 Filed in TXSD on 12/06/18 Page 2 of 2

Attachment 1

On December 04, 2018, at approximately 10:30 am, Border Patrol Agents heard a transmission
over the two way radio from Aerostat operator, about a passenger car driving in a northern
direction towards US Highway 83 from the Rio Grande River Area in Rio Grande City, Texas.

Aerostat Operator described the vehicle as a green in color Sedan and advised it was traveling
on Los Velas Road Park in a driveway of a trailer home.

Moments later BP Agents approached the vehicle and observed the vehicle unoccupied and
two male subjects standing about 20 yards away from the vehicle. The subjects were later
identified as, Anthony Josh BOEN, and Julian Rey ORTEGA. As BP Agents approached the
vehicle (a green 2000, Ford Crown Victoria Texas license plate# HWBO0164), Agents observed
bundles of possible narcotics in plain view in the back seat. The ignition was off and all the
doors were locked.

Border Patrols asked BOEN and ORTEGA if the vehicle belonged to them to which both subjects
responded “No”. The subjects were asked if they lived there, to which they responded “No”.
BP Agents detained the subjects and padded down the subjects for officer safety reasons. After
a pat down of the subject's clothing, Agents found a key on BOEN's left lower pant leg and
Agents used the key to unlock the vehicle.

After a search of the vehicle BP Agents were able to locate a total of 8 bundles of marijuana
(approx. 103.999 kilograms) in the back seat and trunk of the car. Both subjects were detained
for further investigation and transported along with the suspected narcotics to the Rio Grande
City Border Patrol Station for processing.

On December 04, 2018, DEA SA Leonel Reyna and TFO Luis Espinoza, responded to the Rio
Grande City Station to interview BOEN and Ortega. At approximately 2:44 p.m., TFO Espinoza,
as witnessed by SA Reyna, read ORTEGA his Miranda Right in his preferred language of English.
ORTEGA acknowledge his rights and agreed to answer the agents’ questions. Regarding the
event that led to his detention, ORTEGA stated he was waiting for a friend at the mobile home
and the vehicle was already parked in the driveway prior to his arrival. ORTEGA stated he had
no knowledge of the marijuana that was located in the vehicle.

At approximately 3:10 p.m., TFO Espinoza as witnessed by SA Reyna read BOEN his Miranda
Rights in his preferred language of English. BOEN acknowledge his rights and stated he did not
want to answer any questions nor provide a statement.

Federal prosecution was accepted for BOEN and ORTEGA was released.
